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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                             MACON DIVISION

    BRANDON ROSS CAMPBELL,
    formerly known as Brandon Ross
    Williams,

                       Plaintiff,                    CIV. ACTION NO. _______________

          vs.
                                                     JURY TRIAL DEMANDED
    SPORTSMAN’S DISTRIBUTION
    COMPANY OF GEORGIA, LLC,
    doing business as Bass Pro Shops;
    BOYD BOND; and
    ROBERT BRIAN FOX,

                       Defendants.

                            COMPLAINT FOR DAMAGES

         COMES NOW Plaintiff Brandon Ross Campbell, formerly known as Brandon

Ross Campbell,1 by and through the undersigned Counsel of Record, and hereby

files this Complaint for Damages against Defendants Sportsman’s Distribution

Company of Georgia, LLC, doing business as Bass Pro Shops, Boyd Bond, and

Robert Brian Fox, respectfully showing the Court as follows:


1
 On November 3, 2020, the Superior Court of Henry County, Georgia, entered a
Final Order Changing Name of Adult, ordering that Plaintiff’s name shall be
changed from Brandon Ross Williams to Brandon Ross Campbell.
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                           JURISDICTION AND VENUE

                                             1.

      Plaintiff commences the above-captioned case pursuant to: (1) Title VII of

the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq., (“Title VII”)

for discrimination based on race and retaliation; (2) the Civil Rights Act of 1866, 42

U.S.C. § 1981, as amended by the Civil Rights Act of 1991, (“Section 1981”) for

discrimination based on race and retaliation; (3) the Family and Medical Leave Act

of 1993, as amended, 29 U.S.C. §§ 2601, et seq., (“FMLA”) for interference; and

(4) laws of the State of Georgia for intentional infliction of emotional distress, as

well as negligent retention and supervision.

                                             2.

      This United States District Court for the Middle District of Georgia (“Court”)

is vested with original jurisdiction over the Title VII, Section 1981, and FMLA

claims pursuant to 28 U.S.C. § 1331, as well as supplemental jurisdiction over the

State law claims, which arise from the same nucleus of operative facts as the Federal

claims, pursuant to 28 U.S.C. § 1367.




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                                              3.

      Venue is proper in the Middle District of Georgia, Macon Division, pursuant

to 28 U.S.C. § 1391(b), because Defendants are located, and the unlawful conduct

forming the basis of this matter occurred, in said district and division.

                                              4.

      Plaintiff satisfied administrative prerequisites to institute this matter.

Specifically, Plaintiff filed a Charge of Discrimination with the Equal Employment

Opportunity (“EEOC”) within 180 calendar days from the day the discrimination

and/or retaliation took place (Charge No. 410-2020-05419). Moreover, Plaintiff

timely commenced the above-captioned case within ninety (90) days of receipt of

the Notice of Right to Sue, dated April 14, 2021.

                                           PARTIES

                                              5.

      Plaintiff Brandon Ross Campbell, formerly known as Brandon Ross

Campbell, (“Campbell” or “Plaintiff”) is a thirty-five (35) year-old African-

American, who is a citizen of the United States and resident of the State of Georgia,

subject to this Court’s jurisdiction.




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                                             6.

      At all times relevant to this action, Campbell was an employee of Sportsman’s

Distribution Company of Georgia, LLC, doing business of Bass Pro Shops, within

the meaning of, among other laws, Title VII, Section 1981, and the FMLA.

                                             7.

      Defendant Sportsman’s Distribution Company of Georgia, LLC, doing

business as Bass Pro Shops, (“Bass Pro Shops”) is a Delaware limited liability

company providing hunting, fishing, camping, and recreational merchandise to

consumers, registered to do business in the State of Georgia (Control Number

0557558), and subject to the jurisdiction of this Court, with a principle office located

at 2500 E. Kearney, Springfield, Missouri 65898.

                                             8.

      Bass Pro Shops operates several retail centers, including, but not limited to,

the retail center located at 5000 Bass Pro Boulevard, Macon, Georgia 31210

(“Macon Center”).




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                                             9.

      Bass Pro Shops is an “employer” within the meaning of Section 1981, Title

VII, and the FLSA, engaging in an industry affecting commerce and employing more

than fifty (50) persons for each working day in each of twenty (20) calendar weeks

in the current or preceding calendar year.

                                             10.

      Bass Pro Shops may be served with process through its Registered Agent, C

T Corporation System, 289 S. Culver Street, Lawrenceville, Georgia 30046-4805.

                                             11.

      Defendant Boyd Bond is and was, at all relevant times, a citizen of the United

States, resident of the State of Georgia, and subject to the jurisdiction of this Court.

                                             12.

      Boyd was, at all relevant times, Bass Pro Shops Director at the Macon Center,

involved in the day-to-day operation of the Macon Center and regularly exercised

authority to: (a) hire and terminate employees, (b) determine the schedules and

assignments for employees, (c) supervise employees, and (d) otherwise control

operation of the Macon Center.




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                                              13.

      At all relevant times, Boyd supervised Campbell while participating in the

unlawful discriminatory, retaliatory, and tortious conduct described herein.

                                              14.

      Boyd may be served with process at the Macon Center located at 5000 Bass

Pro Boulevard, Macon, Georgia 31210.

                                              15.

      Defendant Robert Brian Fox (“Fox”) is and was, at all relevant times, a citizen

of the United States, resident of the State of Missouri, and subject to the jurisdiction

of this Court.

                                              16.

      Fox was, at all relevant times, Bass Pro Shops Director, involved in the day-

to-day operation of, among other locations, the Macon Center and regularly

exercised authority to: (a) hire and terminate employees, (b) determine the schedules

and assignments for employees, (c) supervise employees, and (d) otherwise control

operation of the Macon Center.




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                                             17.

      At all relevant times, Fox supervised Campbell while participating in the

unlawful discriminatory, retaliatory, and tortious conduct described herein.

                                             18.

      Fox may be served with process at 4500 Venice Avenue, Ozark, Missouri

65721-8053.

                             FACTUAL ALLEGATIONS

                                             19.

      Plaintiff re-alleges and incorporates each and every preceding Paragraph of

the above-captioned complaint as if set forth fully herein.

                                             20.

      Bass Pro Shops is a United States retailer operating a chain of facilities,

including, but not limited to, the Macon Center, selling hunting, fishing, camping,

and recreational merchandise.

                                             21.

      After high school, Campbell obtained several professional certifications and

trainings. For example, Campbell completed law enforcement training with the

Maryland Police and Correctional Training Commission. Additionally, Campbell is


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certified in OSHA 30, Wicklander-Zulawski, AED and CPR, as well as Domestic

Violence SAFE with the U.S. Department of Homeland Security.

                                            22.

      Prior to working for Bass Pro Shops, Campbell held several professional

positions including, but not limited to, Sergeant with the Baltimore City Police

Department, Residence Relations Specialist with Westminster Management, and

Safety Contractor with MVM Incorporated SSA Woodlawn.

                                            23.

      Beginning on or about May 9, 2018, Campbell became employed by Bass Pro

Shops at the Macon Center as a Security Supervisor. Approximately a year later,

Campbell was promoted to Safety and Security Manager. In this capacity, Campbell

is responsible for compliance with company policies and procedures, investigating

matters of internal dishonesty, controlling merchandise loss and profitability,

reviewing and analyzing shrink performance, supporting safety awareness and

compliance, as well as other duties and tasks assigned by management.

                                            24.

      Campbell is the only African-American Safety and Security Manager

employed by Bass Pro Shops. Following the corporate merger with Cabela’s, Bass


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Pro Shops hired several Safety and Security Managers, including Tim [INSERT

NAME], Jason Magers, Jacob Hutches, and Christopher Sutton—all Caucasian men.

Although all the Safety and Security Managers performed the same professional

duties and Campbell was the most-senior Manager, Bass Pro Shops paid Campbell

significantly-less than the Caucasian Managers.                   Additionally, although the

Caucasian Managers were given Purchase Credit Cards (“P-Card”) to make

necessary purchases for team members, Campbell was never issued a P-Card and

must request that the Maintenance Manager make purchases for Campbell’s Safety

and Security Team (“Team”). Similarly, although the Caucasian Managers were

issued laptop computers to work remotely, Campbell did not receive a laptop until

February 2021 (after filing a Charge with the EEOC) despite being required to

perform professional duties and responsibilities from home. And, Campbell is the

only Safety and Security Manager that does not have an office.

                                            25.

      At all relevant times, Campbell diligently performed all tasks while meeting

or exceeding all performance expectations. For example, Campbell was named as

Bass Pro Shop’s Ambassador for the Customs Trade Partnership Against Terrorism.

Additionally, Campbell has received professional praise for securing a loaded


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firearm which lead to the arrest of an employee, recovering stolen merchandise, and

increasing employee moral while leading the Team.

                                            26.

      In or about April 2020, Campbell submitted, internally with Bass Pro Shops,

a complaint, wherein Campbell complained about less-favorable treatment than

Caucasian employees and being subjected to racial discrimination at the hands of

Tim Morris (Caucasian), Director and Campbell’s direct supervisor, at the Macon

Center. Bass Pro Shops failed to take any remedial action based upon Campbell’s

internal complaint. As such, on or about May 5, 2020, Campbell filed a Charge of

Discrimination (“Charge”) with the EEOC, complaining about racial discrimination

at the hands of Defendants at the Macon Center.

                                            27.

      After Campbell went on medical leave in April 2020, Fox (Caucasian)

replaced Morris as Campbell’s direct supervisor.

                                            28.

      After returning from medical leave, on or about July 17, 2020, Fox and

Campbell held a conference call, when Campbell and Fox discussed Campbell’s

professional relationship with Bond and Carole Thomas (“Thomas”), HR Manager,


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Bass Pro Shops, as well as existing issues at the Macon Center. During the

conference call, Campbell shared concerns involving Bond and Thomas following

certain racial discriminatory incidents involving Morris. In response, Fox discussed

various security protocol incidents involving the Team while Campbell was on

medical leave. Immediately following the conversation, Campbell conducted a

Team meeting, when Campbell discussed, inter alia, the security protocols

referenced by Fox and re-trained the Team concerning usage of handheld scanners.

                                             29.

      Immediately following Campbell’s return from medical leave, Defendants

commenced a retaliatory campaign against Campbell. For example, Campbell’s

security badge was deactivated without cause or reason. Similarly, Campbell’s

picture was removed from the location where all the Manager’s photographs were

displayed. To this date, Campbell was never given an explanation for these actions.

                                             30.

      Moreover in furtherance of the retaliatory campaign, prior to the Campbell’s

medical leave in April 2020, Bond and another Director advised Campbell that an

old training room would be converted into an office for Campbell, who needed

privacy to perform certain professional Safety and Security functions. Based upon


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professional duties and responsibilities, Campbell was not supposed to share an

office with other employees. However, the day before Campbell’s return from

medical leave, Chandia Harris (African-American Team Lead) advised Campbell

that a note was placed on the training room stating “HR Storage Room.” Despite

the promise to convert the room into Campbell’s office, Bond gave the training room

to Blake Maurer, Caucasian Manager. Campbell advised Fox that this retaliatory

action made Campbell feel isolated and uncomfortable following Campbell’s racial

discrimination complaint against Morris.

                                            31.

        Similarly in furtherance of the retaliatory campaign, during a conference

call with Fox and other Safety and Security Managers, Campbell learned, for the

first time, that the Macon Center was second highest for COVID-19 infected

employees. Despite Campbell’s position as Safety and Security Manager, neither

Bond nor Thomas briefed Campbell or made Campbell aware of the COVID-19

issues at the Macon Center. After the conference call, Campbell advised Fox that

Campbell felt disconnected from management at the Macon Center based upon

Campbell’s racial discrimination complaint against Morris.




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                                             32.

      On or about July 23, 2020, Team member Shameika Boatman (“Boatman”)

reported to Campbell about an incident, involving Bond, Thomas, and Tiffany

Adams, Assistant HR Manager, at the Macon Center. After reviewing security

camera footage, Campbell reported the incident and provided Boatman’s incident

report to Fox. When Campbell compared the incident to the security protocol issues

discussed with Fox on July 17, 2020, Fox agreed and stated that Fox would address

the issue with Bond and Thomas.

                                             33.

      While at the Macon Center’s Security Control Exit Point on or about July 24,

2020, Campbell observed the same security violation Boatman reported the previous

day. When Bond set off the metal detector while coming through the entrance to the

Macon Center, consistent with Bass Pro Shops policy and Fox’s instructions,

Campbell utilized the handheld scanner to determine that Bond’s badge triggered

the metal detector. After Campbell advised Bond of the issue, Bond stated, in an

angry and intimidating tone, “I’m good, I don’t have to take my badge off, I’m good,

wand me.” Campbell professionally replied, “Don’t talk to me like that” before




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explaining the security protocol to Bond, who angrily countered that Campbell did

not remove his badge when leaving the Macon Center.

                                             34.

      When reporting the Bond security incident to Fox, Campbell also reported

that management at the Macon Center consistently violated Bass Pro Shop security

protocols. In response, Fox thanked Campbell for reinforcing the security protocols

discussed on July 17, 2020, and instructed Campbell to not return to the Macon

Center while Fox conducted an investigation. Specifically, Fox stated, “You are not

in trouble. I just want you to stay home until I finish.”

                                             35.

      When Campbell returned to Bass Pro Shop on July 28, 2020, Fox requested a

phone conference on July 29, 2020, when Fox stated that Campbell was being placed

on a Final Written Warning. According to Fox, the warning was based upon Fox’s

investigation and witness accounts, which purportedly revealed that Campbell was

agitated and used an elevated voice (CCTV is not equipped with audio) during the

Bond security incident. Campbell denied Fox’s conclusion, reminded Fox of their

discussions concerning security protocols, and complained that the process was

unfair. Specifically, although Harris (African-American Team Lead) and Julia


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Rouse (African-American employee) witnessed the incident, neither were

interviewed or asked to provide a statement. However, Fox solicited statements

from Roy Harford and Davis Petro—Caucasian Operations Managers who came to

Bass Pro Shops with Bond from a previous employer and falsely reported that

Campbell stated that Campbell did not work for or report to Bond.

                                            36.

      Prior to the Final Written Warning, Campbell had not received any

disciplinary actions while employed for Bass Pro Shops.

                                            37.

      Without cause, in or about August 2020, Fox questioned Campbell’s

attendance, stated that Campbell worked less than other Caucasian Safety and

Security Managers, and requested details concerning Campbell’s schedule. Despite

Fox’s false allegations and criticism, Campbell had been consistently and routinely

working overtime without compensation. Indeed, on August 7, 2020, Campbell

advised Fox that, among other things, “the Macon Security team is stretched to the

max.” Fox did not subject the Caucasian Safety and Security Managers to this

scrutiny and micromanagement.




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                                            38.

      When Campbell requested comp time for all of the overtime hours worked,

Fox refused. Subsequently, Bond began to secretly monitor Campbell’s attendance

at the Macon Center through the CCTV camera system. However, because the Team

is notified when someone operates the CCTV system, the Team became aware of

Bond’s monitoring of Campbell.

                                            39.

      On or about September 9, 2020, Campbell filed with the EEOC another

Charge, complaining about continuing racial discrimination and retaliation suffered

at the Macon Center at the hands of Defendants.

                                            40.

      Defendants’ retaliatory and discriminatory campaign even extended to other

members of the Team. For example, on or about October 15, 2020—approximately

one (1) month after the Charge—Bond and Thomas criticized Campbell’s arrival at

the Macon Center in the presence of Harris, who was a member of Campbell’s Team.

After Harris made Campbell aware of the criticism, Campbell sent Bond and

Thomas a copy of Campbell’s schedule. Immediately thereafter, Fox instructed




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Campbell to negatively change Harris’ performance evaluation Campbell submitted

to Fox on October 14, 2020.

                                            41.

      Shortly before Thanksgiving 2020, the Maintenance Manager who shared an

office with Campbell at the Macon Center contracted COVID-19.                         However,

Defendants did not advise Campbell of this exposure. After the Manager did not

show up at the Macon Center for several days, Campbell contacted the Manager,

who advised Campbell of the positive COVID-19 test. When Campbell called the

Senior HR Representative at the Corporate Office, Campbell was put on medical

leave and instructed to undergo COVID-19 testing.

                                            42.

      While Campbell was on medical leave, Fox repeatedly questioned Campbell

about COVID-19 test results, forcing Campbell to advise, on almost a daily basis,

Fox that Campbell would provide test result once obtained. Additionally, Fox

required Campbell to perform professional duties while Campbell was on medical

leave. On or about December 29, 2020, Campbell filed a complaint, however, Bass

Pro Shops took no remedial action.




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                                             43.

      Since Campbell’s racial discrimination complaint against Morris, Campbell

has repeatedly complained and expressed concern about retaliation, racial

discrimination, and unfair treatment at the Macon Center, however, Fox simply

disregarded the complaints and concerns without taking any remedial action.

                                             44.

      Shortly after Defendants received Campbell’s Charge, in or about February

2021, Fox purportedly resigned from Bass Pro Shops.

                                             45.

      Although Campbell diligently performed as Safety and Security Manager,

Defendants treated Campbell unequivocally and significantly less-favorably than the

Caucasian Managers who were in similar and comparable positions at the Macon

Facility.

                                             46.

      As a result of unfair, discriminatory, and retaliatory treatment, Campbell has

suffered the indignity of race and national origin discrimination, the invasion of right

to be free from discrimination, humiliation, emotional pain, mental distress,

inconveniences, and mental anguish, for which Campbell is entitled to recover.


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                              COUNTS I & II
                       RACE DISCRIMINATION
             IN VIOLATION OF TITLE VII AND SECTION 1981
                    (Against Defendant Bass Pro Shops)

                                             47.

      Campbell re-alleges and incorporates by reference each of the foregoing

paragraphs as if fully restated herein.

                                             48.

      Title VII and Section 1981 prohibit employers from discriminating against an

employee based upon, inter alia, race, ethnicity, and/or national origin.

                                             49.

      As an African-American, Campbell is a member of a protected class under

Title VII and Section 1981.

                                             50.

      At all relevant times, the relationship between Campbell and Bass Pro Shops

was a relationship of “employee” to “employer” under Title VII and Section 1981,

such that a cause of action exists where discrimination on the basis of race is alleged

to be the cause of an adverse actions directed to the employee by the employer.




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                                             51.

      At all times relevant to this action, Bass Pro Shops acted by and through its

agents and employees, including, but no limited to, Fox and Bond, each of whom

acted in the course and scope of their employment with and for Bass Pro Shops.

                                             52.

      Despite Campbell’s diligent work performance, Defendants intentionally

discriminated against Campbell on the basis of race by, among other things,

subjecting Campbell to unfair treatment compared to similarly-situated non-African-

American employees, isolated Campbell from management at the Macon Center,

denied Campbell the promised office, P-Card, and laptop necessary for professional

performance, placed Campbell on a Final Written Warning for enforcing safety

protocols as instructed, criticized Campbell’s performance/attendance in the

presence of Team members, failed to pay Campbell the same as Caucasian

managers, scrutinized Campbell’s attendance and micromanaged Campbell, forced

Campbell to negatively change professional evaluations, failed to advise Campbell

of COVID-19 exposure caused by Defendants’ refusal to provide a private office, as

well as other unlawful actions based solely upon race.




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                                             53.

      At all relevant times, Campbell diligently performed while employed by Bass

Pro Shops and was qualified to serve as Safety and Security Manager.

                                             54.

      Nevertheless, Campbell was treated less-favorably than similarly-situated

non-African-American Bass Pro Shops employees in violation of Title VII and

Section 1981.

                                             55.

      Defendants’ conduct adversely impacted the terms, conditions, and privileges

of Campbell’s employment.

                                             56.

      Defendant’s actions constitute unlawful race discrimination in violation of

Title VII and Section 1981.

                                             57.

      Defendants have willfully and wantonly disregarded Plaintiff’s statutory

rights and Defendants’ discrimination was undertaken in bad faith.




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                                             58.

      As a direct and proximate result of Bass Pro Shops’ unlawful employment

practices, which were intended to cause Campbell harm and/or were committed with

reckless disregard of the harm caused to Campbell, in derogation of Campbell’s

Federally-protected rights, Campbell has suffered and continues to suffer the

indignity of race and national origin discrimination, the invasion of his right to be

free from race and national origin discrimination, humiliation, emotional pain,

mental distress, inconveniences and mental anguish.

                                             59.

      Bass Pro Shops’ intentional and illegal conduct entitles Campbell to

compensatory damages, as well as any and all other remedies available under Title

VII and Section 1981.

                                             60.

      Bass Pro Shops’ actions with regard to Campbell demonstrate willful

misconduct, malice, fraud, wantonness, oppression, and a complete lack of care

entitling Campbell to an aware of punitive damages to deter, punish, and penalize

Bass Pro Shops for and from similar future conduct.




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                          COUNTS III AND IV
                             RETALIATION
             IN VIOLATION OF TITLE VII AND SECTION 1981
                    (Against Defendant Bass Pro Shops)

                                             61.

      Campbell re-alleges and incorporates by reference each of the foregoing

Paragraphs as if fully restated herein.

                                             62.

      Title VII and Section 1981 prohibit employers from retaliating against an

employee who opposes an employment practice prohibited by, or exercise or attempt

to exercise rights, under Title VII and Section 1981.

                                             63.

      As an African-American, Campbell is a member of a protected class under

Title VII and Section 1981.

                                             64.

      During the relevant period, the relationship between Campbell and Bass Pro

Shops was an employer-employee relationship within the meaning of Title VII and

Section 1981, such that a cause of action exists where retaliation on the basis of

opposing and/or reporting discrimination is alleged to be the causative agent of

adverse employment actions directed to Campbell by Defendants.

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                                             65.

      During the course of Campbell’s employment, Bass Pro Shops, including

Defendant’s agents and employees, unlawfully and knowingly discriminated against

Campbell based upon, among other things, race and national origin in violation of,

inter alia, Title VII and Section 1981.

                                             66.

      Campbell complained to Bass Pro Shops employees, including, but not

limited to Fox and the HR Department, as well as submitted complaints about

unlawful employment practices based upon race.

                                             67.

      Campbell also submitted Charges, opposing unlawful employment practices

based upon, among other things, Campbell’s race.

                                             68.

      Following Campbell’s complaints and Charges concerning, among other

things, unlawful employment practices based on race, Defendants took additional

adverse employment actions against Campbell, including, but not limited to, isolated

Campbell from management at the Macon Center, denied Campbell the promised

office, P-Card, and laptop necessary for professional performance, placed Campbell


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on a Final Written Warning for enforcing safety protocols as instructed, criticized

Campbell’s performance/attendance in the presence of Team members, failed to pay

Campbell the same as Caucasian managers, scrutinized Campbell’s attendance and

micromanaged Campbell, forced Campbell to negatively change professional

evaluations, failed to advise Campbell of COVID-19 exposure caused by

Defendants’ refusal to provide a private office, as well as other unlawful actions

based solely upon race in violation of, inter alia, Title VII and Section 1981.

                                               69.

         Defendants’ adverse employment actions against Campbell constitute

unlawful retaliation against Campbell in violation of, inter alia, Title VII and Section

1981.

                                               70.

         Defendants’ retaliatory actions were willful, deliberate, and intended to cause

Campbell harm and/or were committed with reckless and wanton disregard of the

harm causes to Campbell in derogation of Campbell’s Federally-protected rights.

                                               71.

         Defendants’ discriminatory and retaliatory actions were undertaken in bad-

faith.


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                                             72.

      The retaliation to which Campbell was subjected by Defendants entitle

Campbell to all appropriate relief afforded under the law.

                                             73.

      As a result of Defendants’ intentional and unlawful actions, Campbell has

suffered lost compensation and other benefits of employment, physical and

emotional distress, inconvenience, humiliation, damage to reputation, other

indignities, as well as past and future pecuniary losses.

                                             74.

      Defendants’ actions with respect to Campbell have demonstrated willful

misconduct, malice, fraud, wantonness, oppression, and a complete want of care,

and thus, Campbell is entitled to an award of punitive damages to deter, punish, and

penalize Defendants for and from similar future conduct.

                                    COUNT V:
                                 INTERFERENCE
                         IN VIOLATION OF THE FMLA
                        (Against Defendant Bass Pro Shops)

                                             75.

      Campbell re-alleges and incorporates by reference each of the foregoing

paragraphs as if fully restated herein.

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                                            76.

      The FMLA prohibits employers from interfering with employees who are

exercising rights under FMLA.

                                            77.

      At all relevant times, Bass Pro Shops was an employer covered by the FMLA

and Campbell was an “eligible employee” as defined under the FMLA.

                                            78.

      During the relevant period, the relationship between Campbell and Bass Pro

Shops was an employer-employee relationship within the meaning of the FMLA,

such that a cause of action exists where Defendants interfered, restrained, and/or

denied Campbell medical leave.

                                            79.

      At all times relevant to this action, Bass Pro Shops acted by and through its

agents and employees, including, but not limited to, Bond and Fox, each of whom

acted in the course and scope of their employment with and for Bass Pro Shops.




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                                             80.

      Campbell had an “entitlement to leave” as defined by the FMLA when,

because of a serious health condition, Campbell was unable to perform the functions

of the Safety and Security Manager.

                                             81.

      Campbell satisfied all other FMLA prerequisites.

                                             82.

      Defendants violated the FMLA by interfering with Campbell’s rights when

Fox repeatedly harassed, while Campbell was on approved FMLA leave, Campbell

by requesting COVID-19 test results and requiring Campbell to perform professional

duties and responsibilities.

                                             83.

      Due to such interference, Campbell was unable to exercise Campbell’s full

rights under FMLA in a meaningful way.

                                             84.

      As a direct and proximate result of the above-described actions, Defendants

have deprived Campbell of an employment benefit.




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                                             85.

      Additionally, Campbell has suffered and continues to suffer loss income in

the form of wages, health insurance, prospective retirement benefits, social security,

and other benefits, as well as humiliation, emotional pain, mental distress,

inconveniences, and mental anguish.

                                             86.

      Defendants’ interference actions were willful, deliberate, and intended to

cause Campbell harm and/or were committed with reckless disregard of harm caused

to Campbell, and in derogation of Campbell Federally-protected rights.

                                             87.

      As a result, Campbell is entitled to both equitable and monetary relief for

Defendants’ violation of the FMLA, including, but not limited to, back pay, front

pay or reinstatements, attorney’s fees, and costs of litigation.

                                             88.

      Campbell is also entitled to liquidated damages for Defendants’ violation of

Campbell’s rights under the FMLA because Defendants’ actions were willful

violations of the FMLA.




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                            COUNT VI
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                IN VIOLATION OF GEORGIA LAW
                      (Against All Defendants)

                                             89.

      Campbell re-alleges and incorporates each and every preceding paragraph of

the Complaint as if set forth fully herein.

                                             90.

      Despite Campbell’s years of stellar and diligent performance at the Macon

Center, Campbell was isolated from management at the Macon Center, denied the

promised office, P-Card, and laptop necessary for professional performance, placed

on a Final Written Warning for enforcing safety protocols as instructed,

professionally criticized in the presence of Team members, denied the same

compensation     as    Caucasian         Managers,         professionally        scrutinized   and

micromanaged Campbell, forced to negatively change professional evaluations,

failed to advise Campbell of COVID-19 exposure caused by Defendants’ refusal to

provide a private office, as well as subjected to other unlawful actions and tortious

conduct.




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                                            91.

      Defendants’ statements, conduct, and behavior towards Campbell were

intentional and/or reckless, as well as extreme and outrageous, causing Campbell

severe shame, humiliation, embarrassment and emotional distress of a nature that no

reasonable person can endure.

                                            92.

      Defendants’    statements,       conduct,       and     behavior       towards   Campbell

demonstrate, among other things, a “retaliatory animus.”

                                            93.

      At all relevant times, Defendants and Campbell had a special, employer-

employee relationship, wherein Defendants exercised control over Campbell during

the Global COVID-19 Pandemic.

                                            94.

      Defendants knew or should have known that such conduct would result in

severe emotional distress by Campbell.

                                            95.

      As a result of Defendants’ conduct, Campbell has and will continue to suffer

severe emotional and other damages for which Campbell is entitled to recover.


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                               COUNT VII
               NEGLIGENT RETENTION AND SUPERVISION
                   IN VIOLATION OF GEORGIA LAW
                         (Against Bass Pro Shops)

                                             96.

      Campbell re-alleges and incorporates by reference each of the foregoing

paragraphs as if fully restated herein.

                                             97.

      As a result of the actions taken by Bass Pro Shops’ employees,

including, but not limited to, Bond and Fox, Campbell suffered, among other

things, discrimination based on race, retaliation, and interference.

                                             98.

      Bass Pro Shops owed Campbell a duty to hire, retain, and supervise employees

who would lawfully conduct themselves and not engage in discriminatory,

retaliatory, unlawful, and/or tortious conduct.

                                             99.

      By negligently retaining and supervising its employees, including, but not

limited to, Bond and Fox, Bass Pro Shops breached its duty to hire, retain, and

supervise an employee who would lawfully behave.



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                                             100.

      Bass Pro Shops knew or, in the exercise of ordinary diligence, should have

known of the propensity of its employees, including, but not limited to, Bond and

Fox, to engage in unlawful conduct against Campbell.

                                             101.

      Additionally, by failing to engage in any corrective or remedial action, Bass

Pro Shops ratified, condoned, and/or adopted its employees’ unlawful conduct.

                                             102.

       As a direct and proximate result of Bass Pro Shops’ negligent retention and

supervision of its employees, as well as the failure to take any remedial or corrective

action with respect to the known unlawful actions taken by Bass Pro Shops’

employees, Campbell suffered damages.

                                             103.

      Bass Pro Shops’ negligent conduct entitles Campbell to compensatory

damages, as well as any and all other remedies available under the law.




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                         PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court:

(1)   Direct the Clerk of the Court issue summons and original process,

      served upon Defendants and any other person/entity the Court deems

      necessary in accordance with the law;

(2)   Grant declaratory judgment that Plaintiff’s rights under Title VII,

      Section 1981, the FMLA, and laws of the State of Georgia were

      violated;

(3)   Grant an injunction prohibiting Defendants from engaging in such

      unlawful conduct in the future;

(4)   Award Plaintiff compensatory damages for all injuries suffered as a

      result of Defendants’ unlawful conduct;

(5)   Award appropriate back pay, including, but not limited to,

      reimbursement for lost income, bonuses, pension, social security, and

      other benefits in an amount proven at trial;

(6)   Award liquidated damages equal to back pay and lost benefits based

      upon Defendants’ willful violations of the Title VII, Section 1981, the

      FMLA, and the laws of the State of Georgia;


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(7)   Award punitive damages in an amount reasonable and commensurate

      with the harm done and calculated to be sufficient to deter such future

      conduct;

(8)   Award pre-judgment interest on any monetary award;

(9)   Grant a trial by jury as to all triable issues of fact;

(10) Award attorney’s fees, costs, and disbursements

(11) Plaintiff’s attorneys’ fees, costs, and disbursements; and

(12) Award such further and additional relief as may be just and appropriate.




            [SIGNATURE ON THE FOLLOWING PAGE]


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Respectfully submitted, this 17th day of June, 2021.

                                      MOLDEN & ASSOCIATES

                                       /s/ Regina S. Molden
                                      REGINA S. MOLDEN
                                      Georgia Bar No. 515454
                                      T. ORLANDO PEARSON
                                      Georgia Bar No. 180406
                                      YIYING ZHANG
                                      Georgia Bar No. 798231
                                      Peachtree Center – Harris Tower, Suite 1245
                                      233 Peachtree Street, NE
                                      Atlanta, Georgia 30303
                                      (404) 324-4500
                                      (404) 324-4501 (facsimile)
                                      Email: rmolden@moldenlaw.com
                                      Email: topearson@moldenlaw.com
                                      Email: azhang@moldenlaw.com

                                      Counsel for Plaintiff Brandon R. Campbell




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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF GEORGIA
                            MACON DIVISION

BRANDON ROSS CAMPBELL,
formerly known as Brandon Ross
Williams,

                      Plaintiff,                    CIV. ACTION NO. _______________

          vs.
                                                    JURY TRIAL DEMANDED
SPORTSMAN’S DISTRIBUTION
COMPANY OF GEORGIA, LLC, et
al.,

                      Defendants.

                LOCAL RULE AND SERVICE CERTIFICATION

      The undersigned certifies that this document has been prepared in accordance

with the Local Rules and that the foregoing Complaint for Damages has been filed

with the Clerk using the CM/ECF system which will notify to the attorney(s) of

record.

      Respectfully submitted, this 17th day of June, 2021.

                                              MOLDEN & ASSOCIATES

                                               /s/ T. Orlando Pearson
                                              T. ORLANDO PEARSON
                                              Georgia Bar No. 180406


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